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    Yes. Abortion is legal in Illinois. However, abortion is restricted in Illinois
    and other states. Right now, abortion is legal in Illinois until "viability,"
    which is the stage of pregnancy when a fetus has developed enough
    that it is able to survive outside the uterus with medical help.

           Abortion Finder
           https://www.abortionfinder.org › abortion-guides-by-state

    State Guide to Abortion in Illinois
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           ACLU of Illinois
           https://www.aclu-il.org › know-your-rights › know-yo...

    Know Your Rights - Abortion in Illinois
    You have the right to keep your abortion confidential regardless of how old you are. · If you are
    under 18, a clinic is not required by law to contact a parent ...


           City of Chicago (.gov)
           https://www.chicago.gov › city › cdph › provdrs › svcs

    Abortion Care
    Abortion is legal in Illinois. ... Though federal protections for abortion went away with the
    overturning of Roe v. Wade, abortion is still legal and available in ...


           Planned Parenthood
           https://www.plannedparenthood.org › patient-resources

    Abortion Services | Planned Parenthood of Illinois
    Planned Parenthood offers the full range of abortion care options: in-clinic abortion and
    medication abortion. Both are safe, effective, and legal in Illinois.
    In-Clinic Abortion · ‎Medication abortion pill by mail · ‎Abortion Pill




    Places




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          Provides Abortions                 Medicare/Medicaid            Rating       Hours

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    Illinois Abortion
    No reviews · Abortion clinic
    (866) 569-5100
    Open ⋅ Closes 8 PM                                                                                    Website
    Provides abortions



    Illinois Abortion Clinic
    3.5              (10) · Abortion clinic
    Downers Grove, IL · (866) 569-5100
                                                                                          Website        Directions
    Provides abortions


    Hope Clinic
    4.2              (97) · Abortion clinic
    Granite City, IL · (618) 451-5722
    Closed ⋅ Opens 8:30 AM Fri                                                            Website        Directions
    Medicare/Medicaid accepted
    Provides abortions


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          Center for Reproductive Rights
          https://reproductiverights.org › WIRF State

    Illinois
    Abortion will remain legal in Illinois. In 2019, Illinois enacted comprehensive abortion rights
    legislation. And the Illinois Supreme Court has recognized ...


          CBS News
          https://www.cbsnews.com › CBS Chicago › Local News

    Illinois abortion laws one year after Roe was overturned
    Jun 30, 2023 — Abortion had been illegal in Illinois before the Roe v. Wade decision in 1973. In
    1975, state lawmakers passed the Illinois Abortion Act – a " ...


          Guttmacher Institute
          https://states.guttmacher.org › policies › illinois › abor...

    Interactive Map: US Abortion Policies and Access After Roe ...
    Abortion Policies in Illinois · Abortion is banned at fetal viability, generally 24–26 weeks of
    pregnancy · State Medicaid funds cover abortion · Private health ...


          Wikipedia
          https://en.wikipedia.org › wiki › Abortion_in_Illinois

    Abortion in Illinois
    Abortion in Illinois is legal. Laws about abortion dated to the early 1800s in Illinois; the first
    criminal penalties related to abortion were imposed in ...


          Illinois.gov
          https://www.illinois.gov › August 2021

    Gov. Pritzker Signs Sweeping Reproductive Rights ...
                                                                                                                         NIFLA 02020
https://www.google.com/search?q=abortion+in+illinois&rlz=1C1GCEA_enUS1028US1029&oq=abortion+in+i&aqs=chrome.0.69i59j0i512j69i57j0i512l2…         2/8
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    Jan 13, 2023 — Illinois sees over 10,000 patients a year from other states for abortion care, and
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    that number has increased dramatically since June of 2022 ...
           illinoisabortion.com
           https://illinoisabortion.com

    Abortion Clinics in Illinois - Medical & Surgical Abortion in ...
    Illinois Abortion Clinics have been providing Reproductive Health Care choices in Illinois for over
    30 years in the City of Illinois in Chicago and around.

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           ABC7 Chicago
           https://abc7chicago.com › is-abortion-legal-in-illinois-...

    Abortion in Illinois: Gov. JB Pritzker announces new actions ...
    Jul 31, 2023 — JB Pritzker was at University of Illinois Chicago Monday to discuss increasing
    access to abortion and other care in the state.


           Illinois Department of Public Health (.gov)
           https://dph.illinois.gov › Resource Center › Recent News

    State of Illinois Revises Abortion Data Collection to Better ...
    Jun 30, 2023 — The changes are dictated by recent amendments to Illinois' Reproductive Health
    Act. They also come in response to the Supreme Court's decision ...


           NARAL Pro-Choice America
           https://www.prochoiceamerica.org › 2021/03 PDF

    Illinois
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    abortion. YES - Illinois has an affirmative right to abortion ...
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           NPR
           https://www.npr.org › sections › health-shots › 2023/08/23

    Abortion bans are fueling a rise in high-risk patients ...
    Aug 23, 2023 — Illinois hospitals are seeing a surge of out-of-state patients who need abortion
    care at a hospital due to medical complications.


           AP News
           https://apnews.com › article › abortion-us-supreme-co...

    Illinois lawmakers greenlight enhanced abortion protections
    Jan 10, 2023 — Abortion is legal in Illinois until the fetus can survive outside of the womb, which
    usually occurs around six months of pregnancy. Other states ...


           Illinois Legal Aid Online
           https://www.illinoislegalaid.org › legal-information

    Your abortion rights in Illinois now that Roe is overturned
    Jun 28, 2022 — Abortion remains legal in Illinois. Illinois has also enacted an abortion "shield"
    law. This law protects patients and medical providers if ...


           The State Journal-Register
           https://www.sj-r.com › news › healthcare › 2022/05/05

    Is abortion legal in Illinois? What to know if Roe v Wade is ...
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    May 3, 2022 — One can have an abortion in Illinois up to viability, considered to be 24 weeks
    after conception. After that period of time, an abortion can ...                                                               Sign in
           Illinois Attorney General (.gov)
           https://www.illinoisattorneygeneral.gov › Page-... PDF

    Know Your Reproductive Rights
    Jun 24, 2022 — Yes. Illinois law protects your right to have an abortion and treats abortion like
    other kinds of health care. You are.


           American Civil Liberties Union
           https://www.aclu.org › news › reproductive-freedom

    In Missouri and Illinois, a Glimpse of Abortion Access in ...
    Aug 3, 2022 — We spoke with advocates on the ground in Missouri, where abortion is now
    banned, and in Illinois, where two abortion clinics near its border are ...


           PBS
           https://www.pbs.org › newshour › politics › illinois-en...

    Illinois enacts sweeping abortion, gender-affirming care ...
    Jan 13, 2023 — Pritzker on Friday signed into law sweeping reproductive health care legislation
    to protect out-of-state abortion seekers, adding Illinois to ...



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           The Century Foundation
           https://tcf.org › Publications

    State Spotlight: Abortion Access in Illinois
    Aug 5, 2022 — However, there are also some restrictions—for example, Illinois bans abortion at
    fetal viability, with exceptions if the patient's life or ...


           UW-Madison
           https://www.uhs.wisc.edu › uploads › 2022/06 PDF

    Illinois Abortion Providers
    Planned Parenthood: Abortion Pill Services financial resources available. COST. $470｜Abortion
    pill to 11 weeks at every clinic. Aurora: 3051 E. New York, ...


           FindLaw
           https://www.findlaw.com › ... › Illinois Law

    Illinois Abortion Laws
    Abortion is legal in Illinois through viability. Thereafter, abortion is legal only if the life of the
    mother is at risk. Introduction. While the landmark 1973 ...


           Illinois General Assembly (.gov)
           https://www.ilga.gov › legislation › ilcs › ilcs5

    Reproductive Health Act
    An advanced practice registered nurse or physician assistant as defined in this Act may perform
    aspiration abortion procedures that do not require general ...


           NBC Chicago
           https://www.nbcchicago.com › news › politics › is-abo...

    Is Abortion Legal in Illinois? Here Are the Laws in Place
    Jun 24, 2022 — Wade, abortion is safe and legal in Illinois." "As long as I am governor of Illinois,"
    he continued, "and as long as we have a pro-choice ...


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https://www.google.com/search?q=abortion+in+illinois&rlz=1C1GCEA_enUS1028US1029&oq=abortion+in+i&aqs=chrome.0.69i59j0i512j69i57j0i512l2…     4/8
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           WBEZ
           https://www.wbez.org › stories › illinois-enacts-abortio...                                                             Sign in

    Illinois enacts abortion protections post Roe v. Wade
    Jun 14, 2023 — The Illinois General Assembly in 2019 passed the Reproductive Health Act to
    give residents a fundamental, state right to abortion care. That ...


           WTTW News
           https://news.wttw.com › 2023/01/13 › pritzker-signs-l...

    Pritzker Signs Law Expanding Access to Abortion, ...
    Jan 13, 2023 — Illinois will provide legal protections to the swell of out-of-state residents seeking
    abortion care in the state since the overturning of ...


           CARE Clinics for Abortion & Reproductive Excellence
           https://abortionclinics.org › Illinois

    Late Term Abortion Illinois
    We provide assistance to women in Illinois with late term abortions, third trimester abortions,
    abortion after 27 weeks, maternal indication abortions, fetal ...


           U.S. News & World Report
           https://www.usnews.com › ... › Illinois News

    Illinois Lawmakers Greenlight Enhanced Abortion Protections
    Jan 10, 2023 — Abortion is legal in Illinois until the fetus can survive outside of the womb, which
    usually occurs around six months of pregnancy.


           Axios
           https://www.axios.com › News

    How Illinois became an abortion safe haven after Roe v. ...
    Jun 23, 2023 — In April 2022, Illinois had 44 legal abortions per capita, compared to 25
    nationally. As of March 2023, the state reported 63 abortions per ...

           Capital Women's Services
           https://www.capitalwomensservices.com › Illinois

    Late Term Abortion in Illinois
    In Illinois the gestational limit at which abortion care can be provided is 24 weeks as defined by
    Roe v. Wade. And any minor in Illinois who is not legally ...


           Family Planning Associates Medical Group
           https://www.fpachicago.com › information-regarding-...

    No Cost Abortion Services for Illinois Residents
    Illinois Medicaid provides coverage for abortion services, with no out of pocket expense for
    patients. Family Planning Associates can also provide free abortion ...


           Planned Parenthood Action Fund
           https://www.plannedparenthoodaction.org › take-action

    Defend Abortion Access in Illinois
    The Supreme Court has overturned Roe v. Wade, stripping access to safe, legal abortion
    nationwide. Millions of people are suddenly finding themselves in an ...


           Pregnancy Decision Line
           https://pregnancydecisionline.org › ... › Abortion Costs

    Abortion Cost Illinois
    Medication abortion also called the abortion pill, can be taken up to 10 weeks pregnant. The
    typical abortion pill cost in Illinois is $360-$390. Suction ...


           Justia
           https://law.justia.com › codes › illinois › chapter53

    720 ILCS 510/ Illinois Abortion Law of 1975.
    Sec. 1. It is the intention of the General Assembly of the State of Illinois to reasonably regulate
    abortion in conformance with the decisions ...



                                                                                                               NIFLA 02023
https://www.google.com/search?q=abortion+in+illinois&rlz=1C1GCEA_enUS1028US1029&oq=abortion+in+i&aqs=chrome.0.69i59j0i512j69i57j0i512l2…     5/8
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           Americans United for Life
           https://aul.org › ... › State Spotlight                                                                                 Sign in

    Illinois Pro-Life Laws | Abortion Law
    After Roe, abortion remains legal in Illinois up to viability with exceptions thereafter. Illinois will
    continue to be an abortion hub, as it is surrounded ...


           danvillewcc.org
           https://danvillewcc.org › Pregnancy Options

    Abortion - Women's Care Clinic of Danville
    Early Medical Abortion – Up to 10 weeks from the last menstrual period (LMP) “The Abortion
    Pill” (mifepristone plus misoprostol) is the most common form of ...


           Lozier Institute
           https://lozierinstitute.org › abortion-reporting-illinois-...

    Abortion Reporting: Illinois (2021)
    Aug 2, 2023 — 775 §55) contains a health exception so broad that abortions may be performed
    at virtually any point in pregnancy. Further undermining the ...


           informedchoices.org
           https://informedchoices.org › pregnancy-choices-illinois

    Abortion Costs Illinois | Crystal Lake & Grayslake
    Typical costs of abortion in Illinois: · Medication Abortion / Abortion Pill: $360. Price of abortion
    pill online: $470 · Suction Aspiration / Vacuum Abortion (6- ...


           Human Rights Watch
           https://www.hrw.org › news › 2021/10/28 › illinois-le...

    Illinois: Legislature Repeals Harmful Abortion Restriction
    Oct 28, 2021 — Illinois state lawmakers have voted to repeal a harmful abortion restriction that
    forced anyone under age 18 to involve a parent in an ...

           KSDK
           https://www.ksdk.com › article › news › health › illino...

    Abortions still legal in Illinois after Roe v. Wade overturned
    Jun 24, 2022 — In Illinois, abortion is protected under state law until a fetus is viable outside the
    womb. The state has about two dozen clinics that ...


           KHQA
           https://khqa.com › newsletter-daily › one-year-after-ro...

    One year after Roe v. Wade's overturn: Illinois emerges as ...
    Jun 23, 2023 — However, in Illinois, abortion is legal and abortion is healthcare, and we will
    continue our work to affirm that. In the past year alone, ...


           Carafem
           https://carafem.org › abortion-access-in-wisconsin

    Abortion access in Wisconsin
    Yes! The good news is that Illinois does not have all these restrictions. In fact, as of this year,
    abortion care is covered by medicaid in Illinois!
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           Abortion Clinic Granite City Illinois
           https://hopeclinic.com › Services

    Abortion Procedure (16-27 weeks 6 days)
    Abortion Procedure (16-27 weeks 6 days). Where there's Choice, there's Hope. An abortion
    procedure also known as “surgical abortion” ...


           Chicago Tribune
           https://www.chicagotribune.com › news › ct-abortion-six...

    Since Roe's end, Illinois abortion providers treat more out- ...
    Dec 27, 2022 — Many of those states are in the Midwest and South, which has had an immediate
    impact on travel to Illinois, a state where abortion remains legal ...

                                                                                                               NIFLA 02024
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             Illinois Right to Life Action
             https://illinoisrighttolifeaction.org › 2022/07/18 › all-y...                                                         Sign in

    All You Need to Know About Abortion Laws in Illinois
    Jul 18, 2022 — There are no restrictions on abortion in the State of Illinois? · The Parental Notice
    of Abortion Act was repealed by House Bill 370 in 2021 and ...


             WTTW News
             https://news.wttw.com › 2021/12/17 › pritzker-repeals...

    Pritzker Repeals Illinois Law Requiring Minors Notify ...
    Dec 17, 2021 — Pritzker means Illinois minors will no longer legally have to tell their parents
    before having an abortion. Thanks to our sponsors: View all ...


             YouTube
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    Illinois abortion providers see more out-of-state ... - YouTube
                                       Illinois Planned Parenthood locations are seeing more patients from out of
                                       state after Supreme Court justices' ruling on Roe v. Wade.

                                       YouTube · ABC 7 Chicago · Dec 27, 2022
      1:50



             NBC News
             https://www.nbcnews.com › news › us-news › illinois-ab...

    Illinois abortion clinics see ripple effects of Roe reversal as ...
    Jun 29, 2022 — “Abortion is still legal and accessible in Illinois, they need to know that we're
    ready to meet the demands of the moment.” Safia Samee Ali.


             The New Yorker
             https://www.newyorker.com › News › Abortion Rights

    How Illinois Became an Abortion-Rights Haven
    Jul 22, 2019 — The law, which is being challenged in court, declares that performing an abortion,
    except when the life of the mother is in danger, is a felony ...

             Illinois Times
             https://www.illinoistimes.com › springfield › Content

    Illinois to invest more than $23 million in abortion access
    Aug 3, 2023 — As another of the states bordering Illinois is set to enact a near-total abortion ban
    this week, Gov. JB Pritzker on July 31 announced ...


             Circuit Court of Cook County
             https://www.cookcountycourt.org › County-Division

    Illinois Circuit Court of Cook County > ABOUT THE ...
    If you are a minor, the Illinois Parental Notice of Abortion Act requires that an adult family
    member (someone over 21 who is your parent, grandparent, step- ...


             Ci3 at the University of Chicago
             https://ci3.uchicago.edu › il-abortion-stats

    Brief Report: Illinois Abortion Statistics Update
    Feb 24, 2023 — People from all across the United States travel to Illinois to seek abortion care.
    Illinois laws do not impose barriers such as mandated ...


             ABC News - Breaking News, Latest News and Videos
             https://abcnews.go.com › Health › wireStory › us-judg...

    US judge blocks new Illinois law allowing state to penalize ...
    Aug 4, 2023 — A federal judge has blocked a new Illinois law that allows the state to penalize
    anti-abortion counseling centers if they use deception to ...


             Capitol News Illinois
             https://www.capitolnewsillinois.com › NEWS › illinois...

    Illinois to invest more than $23 million in abortion access, ...

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https://www.google.com/search?q=abortion+in+illinois&rlz=1C1GCEA_enUS1028US1029&oq=abortion+in+i&aqs=chrome.0.69i59j0i512j69i57j0i512l2…     7/8
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    Jul 31, 2023 — As another of Illinois' border states is set to enact a near-total abortion ban this
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    week, Gov. JB Pritzker on Monday announced several new ...
          The New York Times
           https://www.nytimes.com › illnois-abortion-roe-wade

    Illinois Abortion Clinics Prepare for Rush of Patients After ...
    Jun 29, 2022 — Abortion is legal until viability in Illinois, typically around 24 weeks into
    pregnancy. Procedures at more advanced stages of a pregnancy take ...


           National Partnership for Women & Families
           https://nationalpartnership.org › news-illinois-to-invest...

    NEWS: Illinois to invest more than $23 million in abortion ...
    Aug 3, 2023 — As another of the states bordering Illinois is set to enact a near-total abortion ban
    this week, Gov. JB Pritzker on July 31 announced several ...


           CNN.com
           https://www.cnn.com › 2019/06/12 › politics › illinois-g...

    Illinois Gov. JB Pritzker signs abortion protection bill into law
    Jun 12, 2019 — The bill repeals the Illinois Abortion Law of 1975, which punished doctors for
    abortions not deemed “necessary,” as well as the the state's ...


           Wall Street Journal
           https://www.wsj.com › articles › illinois-abortion-clinics-...

    Illinois Abortion Clinics Are Preparing for a Potential Post- ...
    Dec 2, 2021 — Illinois, where Democrats control the governor's office and Legislature, enshrined
    the right to an abortion in state law in 2019. It is one of ...


           Chicago Abortion Fund
           https://www.chicagoabortionfund.org

    Chicago Abortion Fund
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    us with funding or a connection with their local abortion ...



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